          Case 2:12-cr-00047-MJP         Document 193        Filed 04/02/12      Page 1 of 3




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06                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
07                                     AT SEATTLE

08 UNITED STATES OF AMERICA,              )
                                          )            CASE NO. CR12-047-MJP
09         Plaintiff,                     )
                                          )
10         v.                             )
                                          )            DETENTION ORDER
11   VERONICA RAMIREZ-DIAZ,               )
                                          )
12         Defendant.                     )
     ____________________________________ )
13

14 Offense charged:        Conspiracy to Distribute Controlled Substances; Forfeiture Allegation

15 Date of Detention Hearing:     April, 2012.

16          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

17 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

18 that no condition or combination of conditions which defendant can meet will reasonably

19 assure the appearance of defendant as required and the safety of other persons and the

20 community.

21         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

22          1.     Defendant is reportedly not a citizen of the United States.



     DETENTION ORDER
     PAGE -1
            Case 2:12-cr-00047-MJP           Document 193        Filed 04/02/12      Page 2 of 3




01            2.      The United States alleges that her presence in this country is illegal. There is an

02 immigration detainer pending against her. The issue of detention in this case is therefore

03 essentially moot, as the defendant would be released to immigration custody if not detained in

04 this case.

05            3.      Defendant and her counsel offer no response to entry of an order of detention.

06            4.      Upon advice of counsel, defendant declined to be interviewed by Pretrial

07 Services. Therefore, there is limited information available about her.

08            5.      There does not appear to be any condition or combination of conditions that will

09 reasonably assure the defendant’s appearance at future Court hearings while addressing the

10 danger to other persons or the community.

11 It is therefore ORDERED:

12         1. Defendant shall be detained pending trial and committed to the custody of the Attorney

13            General for confinement in a correction facility separate, to the extent practicable, from

14            persons awaiting or serving sentences or being held in custody pending appeal;

15         2. Defendant shall be afforded reasonable opportunity for private consultation with

16            counsel;

17         3. On order of the United States or on request of an attorney for the Government, the

18            person in charge of the corrections facility in which defendant is confined shall deliver

19            the defendant to a United States Marshal for the purpose of an appearance in connection

20            with a court proceeding; and

21 / / /

22 / / /



     DETENTION ORDER
     PAGE -2
        Case 2:12-cr-00047-MJP          Document 193        Filed 04/02/12      Page 3 of 3




01     4. The Clerk shall direct copies of this Order to counsel for the United States, to counsel

02        for the defendant, to the United States Marshal, and to the United State Pretrial Services

03        Officer.

04        DATED this 2nd day of April, 2012.

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                                                        A
                                                        Mary Alice Theiler
                                                        United States Magistrate Judge
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     DETENTION ORDER
     PAGE -3
